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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


                                                        )
    UNITED STATES OF AMERICA                            )
                                                        )
                       v.                               )         Criminal No. 17-201 (ABJ)
                                                        )
    PAUL J. MANAFORT, JR.,                              )
                                                        )
                            Defendant.                  )
                                                        )

            DEFENDANT PAUL J. MANAFORT JR.’S FINAL SUBMISSION
           NOTING OBJECTIONS TO THE GOVERNMENT’S PROPOSED
         EXHIBITS IN RESPONSE TO THE COURT’S AUGUST 28, 2018 ORDER

        Defendant Paul J. Manafort, Jr., by and through counsel, files the attached annotated

version of the Government’s Exhibit List which notes all of defendant’s objections or lack of

objections to the listed exhibits in response to the Court’s August 28, 2018 Order.

        For clarity, Mr. Manafort’s additional objections or lack of objections have been marked

in bold font to differentiate from the objections or lack of objections set forth in Mr. Manafort’s

first 1 and second submissions noting objections to the government’s proposed exhibits (Doc. 395

and 397).

Dated: September 4, 2018                                     Respectfully submitted,

                                                              /s/
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 In Mr. Manafort’s first submission noting objections to the government’s proposed exhibits (Doc. 395), Mr.
Manafort indicated that he had no objection to Government’s Exhibit No.431. Mr. Manafort now objects to
Government’s Exhibit No.431 and has indicated the objection in this submission.
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                                    /s/
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                                   /s/
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